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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

MICAH BROWN,                            §
                   Petitioner,          §
                                        §
v.                                      §
                                        §         CIV. NO. 3:19-CV-2301-L-BN
BOBBY LUMPKIN, Director,                §         (Death Penalty Case)
Texas Department of Criminal            §
Justice, Correctional Institutions      §
Division,                               §
                  Respondent.           §



                                     ORDER

      The Court GRANTS Respondent Bobby Lumpkin’s motion for an

extension of 21 days to respond to Petitioner Micah Brown’s motion to stay

federal-habeas proceedings. Accordingly, the Director’s deadline to file a

response in opposition to Brown’s motion to stay federal-habeas proceedings is

October 1, 2021.

      The clerk will deliver a copy of this order to the parties.

             SIGNED on ____________________,
                          September 3        2021




                                     David L. Horan
                                     United States Magistrate Judge
